Case: 22-3022 Document:34 Page: 1 Date Filed: 08/11/2023

United States Gurts of Appea| 8 [3/43 \O
| for the Third Circuit WP
‘Qi400 US Courthouse

(061 Market Street - . i
Philacelhia, PA 19106 ae ee
U.S.C.A, 3ra. CIR |

Ae: United States v9. Arthur Rowland No.da-30aa

To the Honorable Sudges 6+ the Court
| T, Arthuc Acusland am writing the Cours in
-fegards to the lack of Communicahory’ between me and
—~ mi attorney Richard Fauschino. The last Communicahon
‘bttwun us was ducing my sentencing where we discussed
aNd agreed upon Some (sSuus we nd file ducing my
“appeal. Tis my undetslonding that Mr. fausching h
Aled my bnehng without Gnferring with me. 1s also my
‘understand in i deli berotel releced to file the issu
‘We agreed uk in October aoaa: I have Sent numerous
email requestine my Transcripts and issues T wanted —
toile and he Hos Not respondect fo Mme Nor my ans
‘requost. T have also AHached Some of those emails —
with this IeHer. Ur Fauschiny's lack of Communicabon
te me or my family parses Qreect Concern. The issues he
| has Filed without Gonerring with me has 2ero Chances
of Suuss in the third Ose Court. T have also Filed
a Pro se brief te the Court On Talo} aoa that
Lamasking t be amendd. I also would lke
Case: 22-3022 Document:34 Page:2 Date Filed: 08/11/2023

to Know vf there” S any yay T Can Set another
attorney fo represent Mie oct this oot T would
reat i apprieciak 0 feSpone Or g Soluho) trom +ho

Respectfully
Arthuc Rowland
=

Case: 22-3022 Document:34 Page:3 Date Filed: 08/11/2023

| United Slates Gurts of Appea.| S [3/23 \O
for the Third Circuit Ww
LIH400 US Courthouse

(Gi Market Street

Philacklphia, PA 19100

]
l

AUG 1 12023 }

Re: United States v3. Arthur Rowland No.da-30aa

To the Honorable Sudges o+ the Court

| T, Arthur Acwsland am writing the Cours in
“regards fo the lack of Communicahon’ between me and
my attorney Aichard Fauschino. The last Communicaton
bttwun us was during ny Sentencing where we discussed
and dared upon Some~ (sSues we bd file ducing mM
appeal. THis my understanding that Mr. Fauschino has
Aled my bnehnd “without Conferting with me. THis also my
‘understand ing th deliberate! rugected qo file the 1SSu
We ites wen in October 63071 have Sent numerous
emails requesting my Tronscnipts and issues I wanted
tofile and he Yos Not respondect Po Me Nor iy As
‘request. T have also OHached Some of tho ehails
with this IeHer. Mr Fauschino's lack of Communicabon
Tome or my fimily pases Great Condarn. The issues he
has Bled Without Gonerring With me has 2e@r Chances
OF Suass in the third Cire Court. T have also Aled
a Pro se brief to the Court On 1/Qo] 20RD that
Lam osking t be amendd. I also would like
Case: 22-3022 Document:34 Page:4 Date Filed: 08/11/2023

to Know 1 there is any Woy ECan Get another
attorney fo represent nid cor-this poi T would
rect hy appriecak 0 feSpone Or a Soluhon trom) the

Respectfully
Arthur Rowland
Case: 22-3022 Document:34 Page:5 Date Filed: 08/11/2023

2.

Arthur Rowland

SO 2372100 Sun, Oct 30, 2022 at 10:26 PM
To: <rjf@fuschinolaw.com>

Hello,

| spoke with Arthur this evening he states he is being moved tomorrow. He's a bit overwhelmed because he had
requested to see you before he left to speak with you about a few things and he also needed the paper work that |
requested on Monday and in the below email on Wednesday.

Is it possible | can come this week to pick up the requested documents? Also would you be able to send those
documents to him?

| do understand that Arthur is not your only client but he also called your office and spoke to someone who stated they
would get him the documents and send the message over to you about the visit. It seems to be some type of disconnect
and he feels like with the upcoming appeal process he does not want to have that disconnect especially going to a
facility where the communication will be little to none.

If you prefer to respond to my email that is fine but if you would like to contact me i ne ata.
| hope to hear from you soon.

Thank you for your time

[Quoted text hidden]
Case: 22-3022 Document:34 Page:6 Date Filed: 08/11/2023

SR © gmail.com>

Re: Arthur Rowland 3rd follow up

gmail.com> Sat, Nov 19, 2022 at 7:24 PM
To: <rjf@fuschinolaw.com>

Hello,

| am following up regarding Arthur's docket sheet, judgement and commitment and statement of facts. Was this
information sent to him? Is there any progress on his appeal? If | don't receive a response | will be contacting your office

again or coming in person to request that this is handled ina timely manner.
[Quoted text hidden]
Case: 22-3022 Document:34 Page:7 Date Filed: 08/11/2023
Mm Gmail Se 22!.com>

Re: Arthur Rowland 3rd follow up

gmail.com> Thu, Nov 10, 2022 at 2:54 PM
To: <rjf@fuschinolaw.com>

Hello,
| am following up again requesting that a copy of Arthur's judgment and commitment docket sheet and sentencing and
reasoning be sent to his new facility USP Hazelton at your earliest convenience.

On Sun, Oct 30, 2022 at 10:26 ERE: Se anRrF E> wrote:
Hello,

| spoke with Arthur this evening he states he is being moved tomorrow. He's a bit overwhelmed because he had
requested to see you before he left to speak with you about a few things and he also needed the paper work that |
requested on Monday and in the below email on Wednesday.

Is it possible | can come this week to pick up the requested documents? Also would you be able to send those
documents to him?

| do understand that Arthur is not your only client but he also called your office and spoke to someone who stated
they would get him the documents and send the message over to you about the visit. lt seems to be some type of
disconnect and he feels like with the upcoming appeal process he does not want to have that disconnect especially
going to a facility where the communication will be little to none.

If you prefer to respond to my email that is fine but if you would like to contact me ORR.

| hope to hear from you soon.

Thank you for your time

—-
On Wed, Oct 26, 2022 at 11:30 AMD <i > wrote:

Hello,

My name is I'm contacting you on the behalf of Arthur Rowland. | called your office on Monday
requesting a copy of Arthur's judgment and commitment docket sheet and sentencing and reasoning. He also
wanted to know if you could visit him this week before he left FDC because he also needed a copy of his judgment
and commitment docket sheet and sentencing and reasoning to travel with him.

| hope to hear from you soon as to when! can come to your office to pick up a copy.

| also hope you are able to visit him before he leaves FDC to provide him the same documents and he also said he
wanted to speak to you about a few things regarding his appeal.

Thank you for your time!

“ou
Case: 22-3022 Document:34 Page:8 Date Filed: 08/11/2023

i ~~ f_ mans at .
M Gmail CRABETP 25031 00>

Re: Arthur Rowland 4th follow up

SP BW 21311007 Fri, Dec 16, 2022 at 11:45 AM
To: <rjf@fuschinolaw.com>

Hello,

| am following up again to see where everything stands at this point. We have not heard back from you for months now
via email nor telephone. Are you still Arthur's lawyer for the appeal? | believe he sent you a request to this email to
communicate with you through email. Could you look into this? If you are not his lawyer anymore could you at-least let
him know so that he caf@fnake contact with the correct person.

Thank you

On Thu, Nov 10, 2022 at 2:54 Pel SpaecNy <_ Sega RRERREBII > wrote:

Hello,
| am following up again requesting that a copy of Arthur’s judgment and commitment docket sheet and sentencing
and reasoning be sent to his new facility USP Hazelton at your earliest convenience.

On Sun, Oct 30, 2022 at 10:26 Ph Lary < aR eae wrote:
Hello,

| spoke with Arthur this evening he states he is being moved tomorrow. He's a bit overwhelmed because he had
requested to see you before he left to speak with you about a few things and he also needed the paper work that |
requested on Monday and in the below email on Wednesday.

Is it possible | can come this week to pick up the requested documents? Also would you be able to send those
documents to him?

| do understand that Arthur is not your only client but he also called your office and spoke to someone who stated
they would get him the documents and send the message over to you about the visit. It seems to be some type of
disconnect and he feels like with the upcoming appeal process he does not want to have that disconnect especially
going to a facility where the communication will be little to none.

If you prefer to respond to my email that is fine but if you would like to contact me i eam.

| hope to hear from you soon.

sate you for your time

On Wed, Oct 26, 2022 at 11:30 AM EIS wrote:

Hello,

My name is Saeeeetinn: I'm contacting you on the behalf of Arthur Rowland. | called your office on Monday
requesting a copy of Arthur's judgment and commitment docket sheet and sentencing and reasoning. He also
wanted to know if you could visit him this week before he left FDC because he also needed a copy of his
judgment and commitment docket sheet and sentencing and reasoning to travel with him.

| hope to hear from you soon as to when | can come to your office to pick up a copy.

| also hope you are able to visit him before he leaves FDC to provide him the same documents and he also said he
wanted to speak to you about a few things regarding his appeal.

Thank you for your time!

[Quoted text hidden]
Pst & CBr FP Seat te

Case: 22-3022 Document: 34 Page:9 Date Filed: 08/11/2023
From: ROWLAND ARTHUR (76947066)

Sent Date: Wednesday, December 28, 2022 4:50 PM
To: Rowlandarthur40@gmail.com

Subject: Arthur Rowland 12-28-2022

Mr.. Fuschino, this Arthur Rowland, I've made several attempt to contact you, is everything ok? My family has
tried to call you and appear at your office all attempts have unsuccessful. Are you mad at me or something? Did |
do anything to offend you? If so i apologize. Any updates on my transcripts? | had an idea, can you please ask
the courts to give us a copy of the transcripts for the telephone conference that occurred on 10-15-22. | tried to
order them myself but they told my family that you have to get them because that telephone call was sealed. |
believe that those transcripts are important and can help us when we raise our conflict/ speedy trial issue. During
that phone call someone from the board of ethics told Mr.. Sciolla ,that he could not represent me. Everything
else that was discussed came out during my sentencing so | don't think that it should be that difficult for us to get
those transcripts now. Also, something else occurred to- the prosecutor admitted during my sentencing that they
interviewed Pressely, 4 times in April of 2019. The government knew that Mr.Sciolla, represent Presley, on 2 prior
cases. So it was their duty to raise the conflict way back then when Banks initially mentioned Mr.Sciolla, in
January 2019 and when they started investigating me and Mr.Sciolla, after speaking to Presley.

English Espanol
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Case: 2430P2 Document: 34 Page: 10 Date Filed: 08st /2023
2 of 3

From: ROWLAND, ARTHUR

Arthur Rowland 12/31/22
Dec 31, 2022 at 3:20 PM

Dear: mr. Fuschino, | just read the judges
decion on The speedy trail motion that you
filed on 2/11/22. he said, " that the delay
caused by discovery of defense counsels
conflict of interest is far more attributable in
the Baker analysis to Rowland and his prior
attorney than the government. Rowlands prior
counsel was responsible for policing his own
ethical concerns’

How when the government kept a secret. They
even filed a protective order on 1/20/20
specifically tailored so that Mr. Sciolla couldn't
find out... They said that he wasn't allowed to
see certain materials until right before trail and
he had to do so at the DA office under their
supervision. The governent went through great
lengths to keep this information away from.
Look at at the speacial protective order that
the government filed on 1/20/22

Case: 2cs0ee Document: 34 Page: 11 Date Filed: O8Abh/2023
1of 3

From: ROWLAND, ARTHUR

Arthur Rowland
Dec 31, 2022 at 3:37 PM

Dear; Mr.. Fuschino, | have a quick question.
Will you be bringing up ineffective counsel on
my Direct against Mr.. Sciolla for withdrawing
from my suppression motion and failing to
bring up the fact that that | had legal standing
because my name was on the lease and The
judge abused his discretion by trying to make
me get on the stand at my suppression
hearing? Also | wanted to know, if the
government knew that my lawyer had a conflict
since January 2019, shouldn't the judge have
given me a new chance to file a suppression
with my new attorney. | know that I'm annoying
you but I'm fighting for my like and this is all |
can think about. Please respond.

Case: 22,308 Document: 34 Page: 12 Date fylegs Oggi 2028
. 8 ?

1of 5

From: ROWLAND, ARTHUR

Arthur Rowland 1/3/23 Sentencing
transcripts

Jan 3, 2023 at 3:22 PM

Enclosed is a PDF/copy of my sentencing
transcripts. Can you please send me the Pdf of
the transcripts of our first trail and the
transcripts of the surpression hearing done by
Mr.Sciolla. thank you

Case: 2223027 Document: 34 Page: 13 Date, Filed O84hb/2023

20f 5

From: ROWLAND, ARTHUR

Arthur Rowland = 1/3/23
Jan 3, 2023 at 3:21 PM

Enclosed is a PDF of the pretrail confrence that
took place on 10/13/21. Please read from page
40 on through. Here are the transcripts where
Mr.ASciolla argued to have the jury hear about
Banks prior cooperation with the FBI. He also
argued that it may have been a potential Brady
violation. Quick question. Did the judge abuse
his discretion by not allowing us to question
Banks about his prior informant status? Is that
a violation of the confortation cluase? Please
don't forget to get the sealed telephone
conference transcripts. Thank you
Case: 22058 Document: 34 Page: 14 Date, [loos Opehh/2023

Done @ corrlinks.com aA ©
Corrlinks

Date

1/13/2023 8:36:40 PM

From

ARTHUR ROWLAND (76947066)
Subject

Arthur Rowland 1/13/23
Message

Mr... Fushcino, | came across a case that similar to mines
dealing with the confrontation clause. United States v. Linda
Lee Chandler 326F.3d 210;2003 U.S App. LEXIS 7039;61 Fed.
Evid. Serv. (Callaghan)67 NO.01-2572

Mr.. Fuschino can you please email me or family a copy of the
PDF containing my transcripts from our first trail? Also, | am
begging you to send me a copy of the new transcripts as soon
as you get them. You don't have to send me a paper copy just
send me or my family The PDF and I'll take the responsibility of
getting the paper copy. Thank you

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Logout

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Case: 22-3022 Document:34 Page: 15 iy? Filpepen e029

7:33 oll SF EZ

Corrlinks

Date

2/5/2023 12:49:56 PM

From

ARTHUR ROWLAND (76947066)
Subject

Arthur Rowland 1/5/23

Message

Can you please get the p[hone call from 10/15/21 transeribed

o Return to Inbox

Logout

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AA ® corrlinks.com e,

Z chy MN (A

Case: 223022) Document: 34 Page: 16 Date Filed 08eth/2023

Art Rowland

From: ROWLAND ARTHUR (76947066)
Sent Date: Tuesday, February 7, 2023 4:05 PM
To: Rowlandarthur40@gmail.com

Subject: Arthur Rowland 2/6/23

| was looking through my notes and | realize the government neveer disclosed to us in Banks plea agreement or
anywhere else what kind of deal they gave him for givivng them the 11 pounds of meth at his house or why they
didn't charge him. |s this a potential Brady issue?

When Curshawn Banks was arrested on12/14/18. He told Fbi agents that he shipped 11 pounds of Meth on
12/13/18 to his apartment sing US postal and Fed Ex. Agents recovered those boxes

On 12/17/18 agents recovered FED EX BOX#784411496166 Being sent to 5638 Hazel avenue. Phila,Pa
Containing 1995.81 grams of meth

on 12/19/18 agent recovered FED EX BOX# 78441146579 being sent to 1500 Locust st. Phila,Pa.
containing2376.82 grams of Meth

On12/19/18 agent recovered US POSTAL BOX 9505526545 138346091560 Being sent to 1500 Locust st.
Phila,Pa. containing 1451.5 grams of Meth

This would've shown Bais...Why wasn't he charge? Why didn't the jury get to hear this. This amount of Meth
carries a LIFE sentence..

h

we

m

spanol

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Case: 2258024 Document: 34 Page: 17 Date, Filed: O@ifi9/2023

Done @ corrlinks.com aA ©
Corrlinks

Date

2/7/2023 4:05:23 PM

From

ARTHUR ROWLAND (76947066)
Subject

Arthur Rowland 2/7/23

Message

Please contact / communicate with me before you put my
appeal in. | want to make sure that | get all of my issues in.
Thank you

o Return to Inbox

Logout

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Case: 22-3022 Document:34 Page:18 Date Filed: 08/11/2023

CUED 27 21.c0m>

ARTHUR ROWLAND

@gmail.com> Mon, May 1 at 7:23 PM
To: Richard J. Fuschino, Jr. <rjf@fuschinolaw.com>

Hi,
Just checking in on any progress with his request also to check in to see has there been and update on his appeal.
[Quoted text hidden]
Case: 22-3022 Document:34 Page:19 Date Filed: 08/11/2023

M Gmail SP aR eo 272!1.com>

Arthur Rowland

@gmail.com> Wed, May 3 at 7:12 PM
To: Richard J. Fuschino, Jr. <rjf@fuschinolaw.com>

Hello,

| received and email from Arthur today and he asked me to reach out to you. He’s extremely overwhelmed not knowing
what's going on with his appeal. He feels like he’s been left out to dry. Is there something we (as a family) can do to help
you and him have a better relationship and communication with you during this appeal process? He had three issues
that he felt needs to be addressed in his appeal

1. Argument to get his suppression rights back on his direct appeal. His old lawyer withdrew
his suppression motion but he never waived his suppression. How did the judge make a
ruling on a issue that was never argued? Also did the judge abuse his discretion by not
allowing his you to file a suppression motion. New lawyer, new strategy...Also the
government knew that a potential conflict between him and his old lawyer existed at the
time of the suppression hearing so everything that lawyer filed shouldn't stand because of
the conflict of interest.

2. Argument to strengthen his speedy trial violation. The government tried to blame the
delay on his old lawyer. But the government knew about the delay for 3 years and waited to
the day of trial to bring up this conflict. The government are officers of the courts too they
had a duty to make the courts aware of this potential conflict as soon as they became
aware of it in January 2019.

3. Argument on how the judge may have abused his discretion and violated the confertation
clause by not allowing the jury to hear about Banks previously being fired by the FBI for

lying.

During the first trial when Banks was on the stand he open the door for us to be able to
question him about this. You had a heavy heated sidebar about this issue. The judge denied
it again.

4. He also asked me to ask did they violate Brady by not disclosing in Banks plea
agreement why they didn't charge him with the 11 pounds that he gave them.

lf you could please respond to this email and | will forward it to him or could you please
respond to him via mail

Arthur Rowland #76947-066
USP Hazelton

PO Box 2000

Bruceton Mills, WV 26525

Thank you
Case: 22-3022 ” Document: 34 Page: 20 _ Date Filed: 08/11/2023

|
Art Rowland

From: | ROWLAND ARTHUR (76947066)

NN cea A ee ane ee eee ae seca neon ek Pen ran ONE nye Rtaae encase VIS SR RAN tevez ce alae

Sent Date: ‘Friday, May 26, 2023 7:34 PM
Rowlandarthur40@qmail.com

Richard Fuschino 5°26/23

ISSUE#1 |
Judge mogied with prejudice supperasion motion after defense withdraw motion and raquested that it not be

heard

Standard Governing Appellate reveiw-"ABUSE OF DISCRETION”
This standard applies mosi often to many pretrial ndings, nal management issues, and the admissibility of

evidence When applying this standard the court pf appeals wil uphold the district courts ruling unless na
reasonable judge could have made i. This is a vary high threshold and i applies to most rulings made in a case.
Even d the appellate judges would have made a diferent ruling if had the triel judge they will nol second guess
the disstrie} court judge df there is areasonable basis in the recerd the ruling

|
!

Verdict: This was a clear abuse af diacration for the judge to have mooted the supprasszon motion with prejuice.

> On November 4, 2019. at the suppression heanng defense attorney Mr. Scialia asked to withdraw the mation
[ See, Cage. 2.18 - Cr - 00579 - GJP. documetnt 387 page 4 of 9 ines 7-16, as annexed here with and

incorposated by this reference]

Although counsel asked to withdraw the motion and [at page 4 of 9 lines 23 - 43 that he answered no to an
attempt to reserve the abdidy to raise the maue again]; counsel had a nght to the vathdrawal and to have the issue

brought up at some later date depending on new developments,
- Note a yaithdraw af the mation doesn't constitute an express waiver of an issue.

Ther ate two ways by which Mr. Rowland could have waived his claim on the motion to suppress; (1) fading to
raise an jssue in the District Court before or at trial. see., United States v. Karlin 785 F.2d 90, 92 - 93 (3rd Cir.
1986}, af (2) failng to dently of argue an issue in his opening bnef on appeal. se United States v. Pelullo. 399 F.
3d 197, 722 (3rd Cir. 2005)

When you delve back into the precedural history of the case clearly defense new counsel on Febuary 5. 2022.
attemptd to litigate the claim and was denied due to the previous withdraw being mooted with prejudiced. Mr.
Rowland had never had thase issues litigated and the reason Mr. Rowland had decided to wait until a later date
of at trial fo renew the suppression. is because the defense

Page 1. of 1 5/26/2023
Case: 22-3022 Document: 34 Page: 21 Date Filed: 08/11/2023

Art Rowland

From: ROWLAND ARTHUR (76947066)

Sent Date: Fiday. May 26, 2023 8:19 PM

To: Rowlandarthursd @gmal.cam
Subject: Riehard Fuschine 5/26/23
Cont'd

kiew that # would be revealed in the government cse that Mr. Rowland was never connected to the home under
question as it related a nexus for illegal conduct, which would have made Mr. Rowiand suppression motion more
likey 19 succeed.

Second: On November 4. 2019, where counsel Guy R. Sciolla moved to withdraw the motion, the government
had a duty to inform the court that a conflict of interest had came up wit Mr. Rowland [and Mr. Scilla because the
government's main witness had imphcated Mr. Sciolla into the conspiracy in a proffer in January of 2019}.

[Therefore prompting the courl to not allow Guy R. Scioila to represent Mr. Rowland al the suppression hearing
due to a confict of interest]. However the government stood silent on that issue. Constructively denying Mr.
Rowland his Sith Amendmant Right to counsel as a constitutional guarantee... at a catical stage... The spramea
Court has axplained that a constructive denial of counsel accurs when the defendant is deprived of the "quiding
hand of counsel”. Powell v. Alabama, 287 ULS. 45, 69. §3 S.Ct. 55, 64 (1932),

This brand of Sixth Amendment viclation has occurred in cases involving the absence of counsei from the
courtroom, conflicts of interest, e.g. between counsel and tha defendant. and official interference with the
defanse.

Lis wed astablished thal faidure to raise an issue in the district court constilutes a waiver of arguement. 927
F.2d 1283 1289 (3d Cir. 1991) [Brenner v. Local 514, UNited Bhd. of Carpenters and jainers of Am].

Here Mr. Rowland attemptd to litigate the suppression motion. THe question moresa‘did the judge abuse his
discretion by mooting vith prejudice a withdrawal of a defendant motion to suppress, and denying the new
alomey the right to litigate the suppression

Page 1 af 1 9726/2023
‘Case: 22-3022 Document:34 Page:22 Date Filed: 08/11/2023

Art Rowland

From: ROWLAND ARTHUR (76947066)

Sent Date: Foday. May 26, 2023 9:34 PM

To: Rowlandarthur4o@gmai.com
Subject: Richard Fuschino 5/26/23 Second issue
ISSUEH 2

The abused his discretion and violated the confrontation clause by not allowing the defense to crass examine

Banks the governments star witness about previously being fired as an FB! informant for not bang truthful and
forthcoming. This is information that the jury should've been allowed to hear which would've shown bias. (See
Docket no.326) Page 41-91. Alsa see Docket No.335. Pages 171- 130

Ban- 2? wid 8/96/7632
Art Rowland

From: ROWLAND ARTHUR (76947066)
Sent Date: Saturday. May 27. 2023 7:19 PM
To: Rowlandarthur40@gmail.com

Subject: Richard fuschino 527/23

See United states of America VS Linda Lee Chandler 326F 3d 210. 2003 US App. Lexis?7039.61 Fed. R

Case is similar to mnes in regards to the confrontation clause

Also can you please request to get the lelaphone conference that took place on10/15/21 Docket no.339
unsealed and transcnbed Mil pay for it.

Page 1. of 1 5/28/2024
~ "Case: 22-3022 =Document: 34° Page: 24 ~ Date Filed: 08/11/2023 “7

Art Rowland

From: ROWLAND ARTHUR (76947066)

Sent Date: Saturday. May 27, 2023 8:36 PM

To: Rowlandarthur40i@qmail.com
Subject: Richard Fuschine 5/27/23
ISSUE#3

The government violated my speedy trial rights...

On October 15.2021 dunng a telephane conference/See Docket No.3393 The goverment was told by the "higher
Ups” That the conflict that existed betveen me and my then attorney Mr. Guy R. Seicila was un waivable (Sea
Docket No. 339 page 25 ines 17 and 23) Se this delay is nat on the defense...

The government Knew that this conflict existed since January 2019 And did nol make my then altomey Mr..
Sciolia aware that we were both being investigated for a saparate case until right before jury selectian. The
government atgued that My attorney was respunsible for his own ethical concerns . although (his maybe true the
government are officars of the Caurt as weil and had an ethical duty to notdy lhe courts of this potential conflict 3
years prior, This tactical delay hinder my defanse severely,

The government admitted in their response that they knew of Conflict and Tailored a unsque protective order on
January 20.2020 (Docket Na. 1903

The government knew absul ths Conflict at My Suppression hearing as wel
The gavernmmernt also lied in 1s response This case was never designated as Complex

On October 19.202 1(Dacket 342) Judge Papper asked Mr.. Shaparro “Was this case ever designated complex”
Mr. Shapairo answered "NO" ( See page 24 Linas 8 and 19}

Page 1 of 4 5128/2023

Art Rowland

From: ROWLAND ARTHUR (76947066)

Sent Date: Saturday. May 27. 2023 8B 2PM

To: Rowlandarthur4di@qmail com
Subject: Richard Fuschine 5/27/23
ISSUER

| believe that we maybe able to raise a Brady claim because Mr.Sciwila preserved i. (See Docket No.335 pages
11-199) &(Dockeat No. 326) The govemment nevar disclose to the datense or the jury why they didn't charged with
the 11 pounds of methamphetamines’ that he told the FBI that he mailed to his house using FED EX and US
Posta!. None of this was disclosed and his plea agreement which would'va shewn bias

Page 1 of 1 52872023

Case: 22-3022 Document:34 Page:26 Date Filed: 08/11/2023

Art Rowland

From: ROWLAND ARTHUR (76947066)
Sent Date: Frnday, June 23, 2023 2:05 PM
To: Rowlandarthurs0@gmal.cam

Subject: Arthur Rowland 6/23/23 Te. Richard Fuschino

these are the issues thal i want to raise on my appeal ..

1. District court Abused its discretion by prabibding cross Examination of Testifying Ca-canspirator as to bias and
Motve vhera the jury might have viewed the co-conspirator credibility differently had cross examinabon been
alowed.

2. Appeliants rights to a speedy tnal were valatad

3. District court abused its discretion and Erred by making an adverse ruling with prejudice on appellants
suppression motion after he withdrew the motion and by finding the defendant wavad his suppression hearing.

4. Whether Appellants ” Brady ” Rights wera violated when the govamman! faded to discigse information
pertaining fo co- conspirators co-operation.

5. ‘Whether the prosecutor committed prosecutar mscanduct and Government intederence when they failed to
disclose a (3) year mvesiigation involving the Appaliant and his Trial counsel,

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Case: 22-3022 Document:34 Page:27 Date Filed: 08/11/2023

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Art Rowland

From: | ROWLAND ARTHUR (78947066)

Sent Date: | Tuesday. June 27. 2023 3:50 PM

To: Rowlandarthur40@gmail.com

Subject: | Asthur Rowland. ..6/23/23 statement of issues

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Statement of issues
1. Trial Atormay did not know how much of what he didn't know as to Co-Conspirators Co-operation was Brady
Matenal because documents provided by the Govarnment provided that there may not be sufficient Effort on
the Governments — part to disclose. Specifically , documents indicated that the cessation of Mr... Banks service
asa comidential seurce wasn'l

fully forthcoming . that the Gavermment refers to Mr... Banks m a number of documents that they used in thie
Case, including applications for the tap and the Pan Register. and that they were used after Mr... Banks prior
cooperation and

to he lermination as a confidential informant in 2014. district court nuled that defendant could not attain these
brady documnts.

|

2. The district court viclated the appellants speedy tial nght whan they continued the Appatants tna! on _ os
the Appellant specifically attributes the delay of tha January 6, 2020 tna! date to the govarnment. in essence the
cour granted a delay ior the trial date for two reasons, neither of which is atinbutable to the defendant and which
the Appellant suggests should weigh heavily against the Government. Second appellant contends that the dalay
of the October 15, 202% trial date should weigh heavily against the Government, Specifically a fay reading of the
transcripts for this cantiiuance shows that the government was aware of any poteniial conflict arising with the
appellant for several years and insisting that a conflict arose at the 11th hour craated an undue delay , and a
substanbal Prejudice to tha Appellant.

3. the district court abused its discretion and Erred by making an adverse ruling with prejudice on appellants
suppression motion after he withdrew the motion and by finding defendant warved his nghts to this hearing -
Specificaly , the Appellant contends for a waiver tc ba valid the nght said to have been waived must ba
waivable , and the defendant must participate personally in the waiver and tha Defendants choice must be
Particularly intormed and voluntary , this is net the case hear, this i because Appellants counsel was in conflict
with the dafandant at the time of the hearing and the government and Appellants Trail Counsel were Aware of the
conflict but the Defendant was not . this prejudiced the defendant because at the time the Government alleges
trial counsel waived his suppression nyghts both the defendant and trial counsel were being investigated by the
FBI for a Murder for hire conspiracy and the Government counsel in this undertying case were aware of the
conflict . however failed to inform the court of the Defendant as to this issue ,. rather the Governments caunsel
omitted this information because withdrawing the motion to suppress was in there favor . furthermore, the
Appaliants Trai counsel MR. Sciolta advised the court that “/ think the ultimate option belongs to the

Accused” (ithe Defendant )

4. Appeliants * Brady * rights were wolated when Governments counsel failed ta disclose the Disposition of Co-
conspirator “Banks” Drug-Trafficking conduct that resulted in (11) pounds of Methamphetammne being seized and
failed to disciose information pertaining to co-canspirator Cooperaton as a Cl for the FBI. Which the jury might
have Viewed the coconspirator credibility differently had the Govamment disclosed this information.

5. The Govemment committed prosecutor misconduct and Government interlerence whan thay faged to disciose
a {3} year vestigation involving the Appetant and his trail counsel on criminal Charges separate From this
undarying case resulting in a violation of his 6th amendment nght to competent tna! counsel at the pre-trial stage.

|
6.the distrigt court Erred in denying Appellants motions for Acquittal fallawing the Appetants Trial

| : .
7. The trialicourt and the Govemment Erread when they committed indictment variance by Adcing the element of
“Knowledge of status “in the jury instnactions which were not alleged in the indictment .
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Case: 22-3022 Document:34 Page:28 Date Filed: 08/11/2023

Re: 7/5 correspondence from Arthur Rowland

SE o011211com> Wed, Jul 5 at 4:31 PM
To: Richard J. Fuschino, Jr. <rjf@fuschinolaw.com>

Hello,

Please see attached for a correspondence from Arthur Rowland on 7/5. Could you please respond to this email and/or
reach out to Arthur, we have not heard anything back from you since October 2022. His briefing date is 7/26 and he isa
bit nervous not knowing how this is about to go since he has not touched base with you. He has been sending
correspondence asking for you to send him things and issues he would like to raise at the briefing but we have no
knowledge if you are even reading these emails or not. We have reached out via email, phone, tried visiting your office
reached out to the courts to no avail.

On Tue, Jun 27, 2023 at 4:58 PM QE © gmail.com> wrote:

Please see attached
Case: 22-3022 Document:34 Page:29 Date Filed: 08/11/2023

Art Rowland

B Discussion

When banks was arrested on 12-14-18 , he told agents that he shipped (11) pounds of meth on 12-13-18 using
U.S. postal and fed ex . agents recovered those boxes , specifically , on 12-17-18 agents recovered fed ex box #
784411496166 being sent to a 5638 hazel ave phila, pa containing 1995.81 grams of meth.

On 12-19-18 agents recovered fed ex box # 78441146579 being sent to 1500 locust st, phila, Pa containing
2,376.82 grams of meth.

on 12-19-18 agents recovered a u.s. postal box # 9505526545138346091560 being sent to 1500 locust st , phila
PA containing 1451.5 grams of meth.

Banks was never charged with the above conduct nor was he charged as a co-conspirator to the crimes alleged
in 14 Q, especially when he had access to 14 Q and admitted to being responsible for the packaging and sending
of all controlled substances In Banks Vs Dretke, 540 U.S 668 { 2004 ) the supreme court rejected the states
argument that no brady violation occurred because the witness was heavily impeached at trail, and thus , that his
status as a paid informant would have been merely cumulative impeachment evidence.

IN Van Arsdall , the state trial court had barred defense counsel from cross- examining a prosecution witness
about the states agreement to dismiss the witnesses pending drunk driving charge in exchange for his testimony
against the defendant, the supreme court held that by cutting off all inquiry into “ an event" ... that a jury might
reasonably have found furnished the witness a motive for favoring the prosecution in his testimony, the trial courts
ruling deprived the defendant of his right to cross-examination secured by the confrontation clause, Van Arsdall
475 U_S. 680

following Van Arsdall , circuits generally have agreed that " whether a trial court has abused its discretion in
limiting the cross- examination of a witness for bias depends on " whether the jury had sufficient other
information before it. without the excluded evidence , to make a discriminating appraisal of the possible biases
and motivation of the witnesses," see Brown vs Powell, 975 F.2d 1,4 ( 4th Cir. 1992 ) See also U.S. Vs turner,
198 f.3d 425, 429 ( 4th Cir. 1999) ( to prohibit the cross examination of a prosecution witness " on relevant
examination of bias and motive ... if the jury is precluded from hearing evidence from which it could appropriately
draw adverse inferences on the witness's credibility ")

At the 10-7-21 status hearing, counsel for the defendant told the courts the following: " He (Banks) was opened
as a confidential informant by the FBI ... in December 2014 he was closed as an informant because.. federal
agents, were concerned that he was not fully forthcoming and because he was arrested for unrelated conduct
while cooperating, So Mr... Sciolla and i believe that that is relevant , not just for propensity , for truthfulness,
but for under 404 motive to fabricate, specially if Mr. Banks , in 2014 had made attempts to cooperate with the
federal government , with the FBI , and they closed him out like Mr.. Sciolla said because either he was not
forthcoming or not credible, now when he is arrested in 2018 by the federals government and ha wants to
cooperate agene...-- he has more motive to give as much information as he can because he has already been
deemed by that agency to be not forthcoming , not credible , so , its our position ... now that Mr. Banks has
incentive to say what he knows, what he may not know, and to fabricate .. because he wants to give the
government every single shred of things that he can ... and even if he doesn't have enough— or enough
information, he can make up certain things to satisfy the government that now he's not withholding information
like he was in the past ... your honor, because i mean the government has not provided me with anything related
to that other then the one document they just provided to you your honor .

Because the united states failed to disclose information related to Banks cooperation the appellants due process
rights have been violated and therefore his conviction and sentence must be vacated.

Applying the united states failure to the standard adopted by the supreme court in Stickler vs Greene, 527 U.S.
263, 281-82 ( 1999) , the evidence of banks cooperation in 2014 not being truthful and having motive to lie-
certainly is exculpatory (2) the Evidence was certainly known to the united states (3) Evidence of Banks not being
forthcoming, lying, and commiting New offenses while cooperating and motive to lie — would have went a long
way in planting the seed of reasonable doubt into the minds of the jury as to appellants involvement ibn the
conspiracy.

Page 2 of 2 71512023
Case: 22-3022 Document:34 Page:30 Date Filed: 08/11/2023

Art Rowland

From: ROWLAND ARTHUR (76947066)
Sent Date: Wednesday, July 5, 2023 4:05 PM

To: Rowlandarthur40@gmail.com
Subject: Arthur Rowland 7/5/2023 part 2
Vv.

the Government committed prosecutor misconduct and Government interference when it failed to disclose a ( 3)
year investigation involving the appellant and his trial counsel on criminal charged separate from the underlying
case resulting in a violation of appellants 6th amendment right to trail counsel at the pre-trial stage .

(A) Standard of review
(b) Discussion .

Courts have explained that a constructive denial of counsel occurs when the defendant is deprived of the "
guiding hand of counsel." See (Powell Vs. Alabama , 287 U.S . 45, 69, 53 S.ct 55, 64 (1932 ) . this sixth
amendment violation occurs in cases involving the confiict of interest between counsel and defendant and official
interference with the defense. In Addition , constructive denial, also will be found when counsel fails to subject the
prosecution's case to meaningful adversarial testing see ( Cronie , 466 U.S. At * 659 )

appellant contends that the Government violated his sixth Amendment right constructively by knowing a“ conflict
of interest " existed between appellant and his trial counsel bases off the " proffer " with banks .

The Government knew Appellant and his trail counsel were in a conflict of interest based off a proffer that
occurred with banks in which he alleged that appellant and his trial attorney were involved in criminal activity. and
for (3) years the Government knew of this information and failed to disclose this to the court and defendant.

So, the Government for (3) years built their trial case against the appellant , For (3) years the government allowed
the appellant to think he and his trail attorney for (3) years were working on a defense strategy, however, the
government knew that the Appellant would not be able to go to trial with this Attorney since the proffer of banks .
because they knew a conflict existed and the court would advise the appellant to get a new Attorney once they
disclose the information of the proffer.

Page 1 of 1 7/5/2023
Case: 22-3022 Document: 34 Page: 31 Date Filed: 08/11/2023

Art Rowland

From: ROWLAND ARTHUR (76947066)

Sent Date: Wednesday, July 19, 2022 9:36 PM

To: Rewlandarthur4 h@amail.com

Subject: Richard Fuscthine 7'1972023 from Anhur Rowland

Can you point me to the record where the judge denied you to crass examune Curshawn Banks abaut his prior
slatus a5 an FBI infannant? Can we argue this under a vickalion of the confronialon clause?

Can you send me a copy of Banks plea agreament? | believe thal the govarnmant never disclosed to the defense
the deal that he racaive for the 11 pounds of Meth that he maded to his house on the day that he was arrested.

Can you please get the telephone confarence fram 10/15/21 unsealed so that i may have that conversation
transcribed. | beiieve that phone call will heip me with my speedy trialissue Because "the people from
Washington” said thal my confiict was un waivable dunng that phone call

During my conflict colloquy Judge pappart asked DA Shapario "was my case ever deem compiicated”. Shapira

answered, "NQ*
| betieve that wall help out my speedy tral argument as wea
Case: 22-3022 Document:34 Page:32 Date Filed: 08/11/2023

EES 2521.c07-

Briefing
REE 020:21.c07- Wed, Jul 26 at 8:15 PM
To: Richard J. Fuschino, Jr. <rjf@fuschinolaw.com>
Hello,

| checked his docket today and see that you filed his briefing could you overnight him a copy. | tried to make copies
myself however | only have access to volume 1. The others are locked, if there is a work around please let me know and |
will send it to him myself.

Thank you!

On Thu, Jul 20, 2023 at 9:50 AM QF gmail.com> wrote:

Please see attached

ee
Date Filed: 08/11/2023

Document: 34 Page: 33

Case: 22-3022

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